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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                 CASE NO: 8:10-cr-96-T-EAK-MAP

 ANTHONY BERNARD SANDERS


      Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                       U.S.C. § 3582(c)(2) Based on USSG Amend. 782

          Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Docs.# 345, 372, and 377. The United States does not oppose a reduction.

 Doc. #377. The parties stipulate that he is eligible for a reduction because Amendment 782

 reduces the guideline range applicable to him, see USSG §1B1.10(a)(1). Doc. #195. The Court

 agrees that he is eligible for a reduction and adopts the amended guideline calculations in the

 parties’ stipulation. Doc. #377.

          Having reviewed the facts in both the original presentence investigation report and the

 February 13, 2015 memorandum from the United States Probation Office in light of the factors

 in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed

 by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 21

 months is warranted. Consistent with USSG §1B1.10(e)(1).

          Thus:

          (1)     The Court grants the defendant’s motions.

          (2)     The Court reduces the defendant’s prison term from 108 to 87 months or time

                  served, whichever is greater.
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       DONE and ORDERED in Chambers, Tampa, Florida on this 21st day of March, 2016.




             Copies furnished to:

             Counsel of Record
             Magistrate Judge
             United States Marshals Service
             United States Probation Office
             United States Pretrial Services
